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5
                                UNITED STATES DISTRICT COURT
6                              EASTERN DISTRICT OF WASHINGTON

7     UNITED STATES OF AMERICA,
                                                NO. CR-09-2035-EFS-1
8                      Plaintiff,                   CR-09-2035-EFS-2
9                v.
                                                FINAL ORDER OF FORFEITURE
10    RICKY S. WAHCHUMWAH (1) and
      VICTORIA M. JIM (2),
11
                       Defendants.
12

13
          On November 16 and December 17, 2010, a Federal Rule of Criminal
14
     Procedure 32.2 forfeiture hearing occurred in the above-captioned matter.
15
     The Court entered a preliminary forfeiture order (ECF No. 344), which was
16
     later amended (ECF No. 353).        During the April 13, 2011 sentencing, the
17
     parties agreed that the amended preliminary forfeiture order was to be
18
     finalized, except for a modification relating to forfeiture item (FI) 61.
19
     In regards to FI 61, the Court clarified that all tail plumes from the
20
     plastic Tupperware-style box were to be forfeited except for one set
21
     bound with black and white tape and twenty sets bound with white tape.
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     Accordingly after reviewing the submitted material and relevant authority
23
     and considering the trial, forfeiture hearing, and sentencing, the Court
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     is fully informed and HEREBY ORDERS forfeiture of the following items:
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     ORDER ~ 1
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1          1.     FIs 1-3, 5-16, 18-21, 22 (twenty-seven golden eagle sets and

2                 six bald eagle sets), 23-38, 40-44, 47-52, 53 (twenty-six wing

3                 feathers), 54-57, 58 (fifty percent of the plumes), 59, 61 (all

4                 tail plumes from the plastic Tupperware-style box except for

5                 one set bound with black and white tape and twenty sets bound

6                 with white tape), 62-64, 65 (all tail feathers except for 15

7                 golden eagle tail feather sets and five bald eagle tail feather

8                 sets), 66, 68, and 70-78; and
9          2.     the 1995 Chevrolet Suburban, Washington License Plate 258 XQJ,

10                VIN#: 1GNFK16KXJ425913.

11         All non-forfeited FIs must be returned to Defendants, absent FI 17,

12   which shall be returned to Raymond Colfax.

13         IT IS SO ORDERED. The District Court Executive is directed to enter

14   this Order and to provide a copy to counsel and the U.S. Probation

15   Office.

16         DATED this 25th         day of April 2011.

17

18                                   S/ Edward F. Shea
                                        EDWARD F. SHEA
19                               United States District Judge

20   Q:\Criminal\2009\2035.final.forfeit.wpd

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     ORDER ~ 2
